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                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                     :
                    Plaintiff                 :
                                              :
             v.                               :      Civil Action No. 4:19-CV-1234
                                              :
                                              :
THE PENNSYLVANIA STATE                        :
UNIVERSITY                                    :
                                              :
                    Defendant                 :


  MOTION FOR EMERGENCY TEMPORARY RESTRAINING ORDER
            AND/OR PRELIMINARY INJUNCTION

      Plaintiff hereby moves, under Fed.R.Civ.Pro 65, for entry of a temporary

restraining order and/or preliminary injunction preventing the University from

holding its scheduled July 23rd second disciplinary hearing. Further, Doe requests a

a court order (1) permanently enjoining the Defendant from re-prosecuting Doe in

a new hearing; (2) retain Plaintiff as a student in good standing at Penn State; (3)

requiring the Defendant to expunge all aspects of Plaintiff’s student disciplinary file

pertaining to the allegation leveled against him by the Complainant.            In the

alternative, Doe requests that the court order Penn State to amend its policies so that

they comport with constitutional requirements; agrees to enforce those policies it has

ignored, and; re-open the investigation to permit Doe to follow up on new
            Case 4:19-cv-01234-MWB Document 3 Filed 07/18/19 Page 2 of 4




information and to address the retrofitted “coercion” definition.            As grounds

therefore, Plaintiff avers:

       1.      The facts set forth in the Complaint and supporting exhibits are

incorporated herein.

       2.      The factual recitations and legal arguments contained in the Plaintiff’s

Brief in Support of Motion for Emergency Temporary Restraining Order and/or

Preliminary Injunction are incorporated herein by reference.

       3.      As more fully set forth in the Brief, Plaintiff is likely to prevail on the

merits of his due process and Title IX claims.

       4.      Plaintiff will suffer irreparable harm unless the requested injunctive

relief is granted.

       5.      The granting of this injunction will not cause greater harm to the

Defendants.

       6.      It is in the public interest to enjoin Defendants from violating the

fundamental norms of due process and equal protection guaranteed by Title IX.

       7.      Plaintiff’s counsel advised counsel for the Defendant last week that

Plaintiff would be seeking this injunctive relief, along with the reasons for this

motion. Plaintiff’s counsel will serve a copy of the motions, brief and supporting

documents at the time of filing.




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      8.      The specific facts in the Complaint clearly show that immediate injury,

loss, and damage will result to the Plaintiff.

      WHEREFORE, this Court should enter a temporary restraining order

preventing the University from re-trying Doe on July 23, 2019.



July 18, 2019                                              Respectfully submitted,

                                                           s/Andrew Shubin
                                                           Andrew Shubin
                                                           ID #63263
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                                                           John Doe




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                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                    :
                   Plaintiff                 :
                                             :
            v.                               :     Civil Action No. 4:19-CV-1234
                                             :
                                             :
THE PENNSYLVANIA STATE                       :     Electronically Filed
UNIVERSITY                                   :
                                             :
                   Defendant                 :


                         CERTIFICATE OF SERVICE

      I, Andrew Shubin, do hereby certify that Defendant was served a true and

correct copy of the foregoing motion via electronic delivery:

                           James A. Keller, Esquire
                    SAUL EWING ARNSTEIN & LEHR LLP
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                                 215-972-1964
                           James.Keller@saul.com
                            Attorney for Defendant

July 18, 2019                                      Respectfully submitted,

                                                   s/Andrew Shubin
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